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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11                               $SULO Grand Jury

12   UNITED STATES OF AMERICA,                No. 8:21-cr-00076-CJC

13             Plaintiff,                     I N D I C T M E N T

14             v.                             [18 U.S.C. §§ 2252A(a)(2)(A),
                                              (b)(1): Receipt of Child
15   DWIGHT ALAN HESTER,                      Pornography; 18 U.S.C.
                                              §§ 2252A(a)(5)(B), (b)(2):
16             Defendant.                     Possession of Child Pornography]
17

18        The Grand Jury charges:
19                                      COUNT ONE
20                     [18 U.S.C. §§ 2252A(a)(2)(A), (b)(1)]
21        Between on or about September 8, 2019 and continuing until on or

22   about September 9, 2019, in Orange County, within the Central District

23   of California, defendant DWIGHT ALAN HESTER knowingly received into a

24   file folder on a Hewlett Packard Computer Tower, bearing serial number

25   4CI5090VD7, at least one image of child pornography, as defined in Title
26   18, United States Code, Section 2256(8)(A), using a means and facility

27   of interstate and foreign commerce, namely, the internet, that had been

28   mailed, and that had been shipped and transported in and affecting
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 1   interstate and foreign commerce by any means, including by computer,

 2   knowing that the images were child pornography.        The child pornography

 3   that defendant HESTER received consisted of video files in a folder

 4   titled, “New Folder (3).”

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 1                                         COUNT TWO

 2                        [18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)]

 3           On or about November 5, 2019, in Orange County, within the Central

 4   District of California, defendant DWIGHT ALAN HESTER knowingly possessed

 5   a Hewlett Packard Computer Tower, bearing serial number 4CI5090VD7, that

 6   contained child pornography, as defined in Title 18, United States Code,

 7   Section 2256(8)(A), namely, a folder titled “New Folder (19),”

 8   containing multiple videos involving a prepubescent minor and a minor

 9   who had not attained 12 years of age, that had been mailed, and shipped

10   and transported using any means and facility of interstate and foreign

11   commerce and in and affecting interstate and foreign commerce by

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